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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TEXAS
WACO DlVlSlON

HENRY HUBBARD, JR.,
P|aintiff,

V.

SAFECO lNSURANCE COMPANY
OF lND|ANA and M|CHAEL
MATTAMMAL,

Defendants.

C|VlL ACT|ON NO. W-15-CV-089

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NlEMORANDU|V| OP|N|ON
AND ORDER

This removal action arises out of Plaintiff’s claim that he was not sufficiently
reimbursed for damages to his residence after a storm. He seeks recovery under
various theories, including violations of various sections of the Texas insurance
Code, the Texas DTPA, breach of contract and breach of the duty of good faith and
fair dealing. Plaintiff sues not only the home owner’s insurance policy holder but the
claims adjuster Who evaluated the damages to his residence Defendants removed
the action based upon diversity jurisdiction, asserting that the claims adjuster,
l\/lichael l\/lattamma| (“Mattamma|”), was improperlyjoined as a defendant Plaintiff
has filed a l\/lotion to Remand, asserting that there is a valid cause of action against
l\/lattammal, thus destroying diversity. Having reviewed the parties’ briefs, the
pleadings, and the applicable legal authority, the Court is persuaded P|aintiff’s
motion is meritorious and should be granted.

l. ALLEGAT|ONS AGA|NST DEFENDANT MATTAMMAL
ln the Original Petition, Plaintiff makes the following factual allegations in

regard to his claims against Defendant l\/lattammal:

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P|aintiff is the owner of a Texas Homeowners Policy No.
OY6481741, issued by Safeco (the “Policy”).

P|aintiff owns the insured property, which is specifically located
at 2003 Carousel Dr., Killeen, Texas 76543 (the “Property”).

Safeco, or its agent, sold the Policy, insuring the Property, to
Plaintiff.

ln or about lVlarch 2014, P|aintiff experienced a storm that
damaged the Property, ln its track, the storm left behind
widespread damage to the Property, P|aintist home.

The P|aintiff immediately submitted a claim to Safeco. Safeco
assigned an adjuster, l\/lichael l\/|attammal (“l\/lattammal"), to
adjust the claim. Safeco assigned claim number 872224375039
to P|aintiff’s claim.

lVlr. l\/lattamma|, on behalf of Safeco, inspected P|aintist property
after the storm. During the inspection, l\/lr. N|attammal, on behalf
of Safeco, was tasked with the responsibility of conducting a
thorough and reasonable investigation of P|aintist claim,
including determining the cause of and then quantifying the
damage done to P|aintist home.

l\/lr. N|attammal, on behalf of Safeco, prepared a repair estimate,
which vastly under-scoped the actual covered damages to the
home. Based upon l\/lr. N|attamma|'s estimate, Safeco
determined that only $2,498.47 was due on Plaintiff’s claim.
Thus, Defendants demonstrated they did not conduct a thorough
investigation of the claim.

Defendants failed to fairly evaluate and adjust P|aintiff’s claim as
they are obligated to do under the Policy and Texas law. By
failing to properly investigate the claim and wrongfully denying
full coverage to P|aintiff, Defendants engaged in unfair
settlement`practices by misrepresenting material facts to P|aintiff.

Defendants failed to perform their contractual duty to adequately
compensate P|aintiff under the terms of the Policy. Speciflcally,
Defendants failed and refused to properly pay proceeds of the
Policy, although due demand was made for proceeds to be paid
in an amount sufficient to cover the damaged property and all
conditions precedent to recovery upon the Policy had been
carried out and accomplished by P|aintiff, Defendants’ conduct
constitutes a breach of the insurance contract.

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Defendants misrepresented to P|aintiff that the damage to the
Property was not covered under the Policy, even though the
damage was caused by a covered peril. Defendants’ conduct
constitutes a violation of the Unfair Settlement Practices section
of the Texas insurance Code. Tex. lns. Code § 541 .060(a)(1).

Defendants failed to make an attempt to settle Plaintiff’s claim in
a fair manner, although they were aware of their liability to
P|aintiff under the Policy. Defendants’ conduct constitutes a
violation of the Unfair Settlement Practices section of the Texas
insurance Code. Tex. lns. Code § 541 .060(a)(2)(A).

Defendants failed to explain to P|aintiff why full payment Was not
being made. Furthermore, Defendants did not communicate that
future payments would be forthcoming to pay for the entire
losses covered under the Policy, nor did Defendants provide any
explanation for the failure to adequately settle Plaintiff’s claims.
Tex. lns. Code § 541 .060(a)(3).

Defendants failed to aerm or deny coverage of Plaintiff’s claim
within a reasonable time. Specihcally, P|aintiff did not receive
timely indication of acceptance or rejection, regarding the full and
entire claim, in writing from Defendants. Defendants’ conduct
constitutes a violation of the Unfair Settlement Practices section
of the Texas insurance Code. Tex. ins. Code § 541 .060(a)(4).

Defendants refused to fully compensate P|aintiff under the terms
of the Policy, even though Defendants failed to conduct a
reasonable investigation Specitically, Defendants performed an
outcome-oriented investigation of Plaintiff’s ciaim, which resulted
in a biased , unfair and inequitable evaluation of Plaintiff’s losses
to the Property, Defendants’ conduct constitutes a violation of
the Unfair Settlement Practices section of the Texas insurance
Code. Tex. lns. Code § 541 .060(a)(7).

Defendants failed to meet their obligations under the Texas
insurance Code regarding timely acknowledging Plaintiff’s claim,
beginning an investigation of Plaintiff’s claim, and requesting all
information reasonably necessary to investigate Plaintiff’s claim
within the statutorily mandated deadline Defendants’ conduct
constitutes a violation of the Prompt Payment of Claims
§zgc&aBpter of the Texas insurance Code. Tex. |ns. Code §

Defendants failed to accept or deny the Plaintiff’s full and entire
claim within the statutory mandated deadline of receiving all
necessary information. Defendants’ conduct constitutes a

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violation of the Prompt Payment of Claims subchapter of the
Texas insurance Code. Tex. |ns. Code § 542.056.

Q. Defendants failed to meet their obligations under the Texas
insurance Code regarding payment of claims without delay.
Specitically, Defendants have delayed full payment of Plaintiff’s

.claim longer than allowed and, to date, P|aintiff has not yet
received full payment for Plaintiff’s claim. Defendants’ conduct
constitutes a violation of the Prompt Payment Claims subchapter
of the Texas insurance Code. Tex. |ns. Code § 542.058.

R. From and after the time Plaintiff’s claim was presented to
Defendants, the liability of Defendants to pay the full claim in
accordance with the terms of the Policy was reasonably clear.
However, Defendants have refused to pay P|aintiff in full, despite
there being no basis whatsoever on which a reasonable
insurance company would have relied to deny the full payment.
Defendants’ conduct constitutes a breach of the common law
duty of good faith and fair dealing.

Plaintiff’s Original Petition, pp. 3-6. P|aintiff asserts that the foregoing supports
claims based upon breach of contract, breach of the duty of good faith and fair
dealing, violations of Sections 541 and 542 of the Texas insurance Code, and
violations of the Texas DTPA.
ll. DlSCUSSlON

The question of whether joinder is improper in a removal case arises in
connection with the requirement of 28 U.S.C. § 1441(b) that there be diversity of
citizenship among the parties to the action who are "properly joined." A defendant
may remove on diversity grounds only “if none of the parties in interest properly
joined and served as defendants is a citizen of the State in which such action is
brought.” Gasch v. Hartford Acc. & Indem. Co., 491 F.3d 278, 281 (5th Cir. 2007)
(quoting 28 U.S.C. § 1441 (b)). The burden of proving fraudulent or improperjoinder
is a heavy one. McDonal v. Abbott Laboratories, 408 F.3d 177, 183 (5‘h Cir. 2005)
(citing Gn'ggs v. State Farm Lloyds, 181 F.3d 694, 701 (5‘h Cir. 1991). See also

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Green v. Amerada Hess Corp., 707 F.2d 201, 205 (5th Cir. 1983), cen‘. denied, 464
U.S. 1039, 104 S.Ct. 701, 79 L.Ed.2d 166 (1984); Smallwood v. IIIinois Central
Railroad Co., 385 F.3d 568, 574 (5th Cir. 2004) (en banc), cert denied, 544 U.S. 992
(2005) (Smallwood //) (“The party seeking removal bears a heavy burden of proving
that the joinder of the in-state party was improper."). The removing party must
demonstrate either: (1) "that there has been outright fraud in the plaintiffs pleadings
of jurisdictional facts;" or (2) that there is no possibility that the plaintiff will be able
to establish a valid state cause of action against the non-diverse defendant Green
v. Amerada Hess, 707 F.2d at 205. There is no allegation or inference of outright
fraud in this case. Defendants merely assert that P|aintiff has no viable cause of
action against l\/lattammal.

Removal cases raise significant federalism concerns as “the effect of removal
is to deprive the state court of an action properly before it.” Gasch, 491 F.3d at 281-
282 (quoting Carpenter v. Wrchita Falls lndep. Sch. Dist., 44 F.3d 362, 365-66 (5‘h
Cir. 1995)). “The removal statute is therefore to be strictly construed, and any'doubt
about the propriety of removal must be resolved in favor of remand.” ld. “[T]he test
for fraudulent joinder is whether the defendant has demonstrated that there is no
possibility of recovery by the plaintiff against an in-state defendant, which stated
differently means that there is no reasonable basis for the district court to predict that
the plaintiff might be able to recover against an in-state defendant.” Smallwood ll,
385 F.3d at 573. in making such a determination, the Court must “reso|ve any
questions of material fact, and any ambiguity or uncertainty in the controlling state

law, in [Piaintiffs’] favor.” Griggs, 181 F.3d at 699.

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in determining whether a party was improperlyjoined, the Court must analyze
the causes of action alleged in the state court petition at the time of removal.
Cavallini v. State Farm Mut. Auto lns. Co., 44 F.3d 256, 264 (5th Cir. 1995). The
Court must evaluate all factual allegations in the state court pleadings in the light
most favorable to the plaintiff, must resolve all contested issues of fact in favor of the
plaintiff, and then must examine relevant state law and resolve all uncertainties in
favor of the plaintiff. Ross v. Citifinancial, lnc., 344 F.3d 458, 462-63 (5th Cir. 2003),
cert. denied, 546 U.S. 813, 126 S.Ct. 335, 163 L.Ed.2d 48 (2005). in a few cases
“in which the plaintiff has stated a claim, but has misstated or omitted discrete facts
that would determine the propriety of joinder," the court “may, in its discretion, pierce
the pleadings and conduct a summary inquiry.” Smallwood ll, 385 F.3d at 573 (citing
Badon v. RJR Nabisco, lnc., 224 F.3d 382, 389 n. 10 (5"‘ Cir. 2000)). Nothing before
the Court indicates that a “piercing" of the pleadings is required.

in analyzing Plaintiff’s claims, the analysis does not focus on whether the
plaintiff “wiii actually or even probably prevail on the merits of the claim,” but whether
there is “a possibility that the plaintiff may do so." Rodriguez v. Sabatino, 120 F.3d
589, 591 (5‘h Cir. 1997), cert. denied, 523 U.S. 1072, 118 S.Ct. 1511, 140 L.Ed.2d
665 (1998) (emphasis added). “‘lf there is “arguably a reasonable basis for
predicting that the state law might impose liability on the facts involved,” then there
is no fraudulent joinder,’ “and the case must be remanded for lack of diversity.””'
Great Plains Trust Co. v. Morgan Stan/ey Dean l/ther & Co., 313 F.3d 305, 312 (5‘h
Cir. 2002) (quoting Badon, 236 F.3d at 286 (quoting Jernigan v. Ashland Oil lnc.,
989 F.2d 812, 816 (5th Cir.), cert denied, 510 U.S. 868, 114 S.Ct. 192, 126 L.Ed.2d
150 (1993))).

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The court must analyze the state court petition in effect at the time of removal
to determine whether it provides a reasonable basis to believe that the plaintiff may
recover against the non-diverse defendant under Texas |aw. Smallwood, 385 F.3d
at 573-74. if the state court petition provides a reasonable basis for recovery on just
one cause of action, the entire case must be remanded. Grey v. Bever/y Enters.-
Miss., lnc., 390 F.3d 400, 412 (5th Cir. 2004).

Texas notice pleadings should apply in conducting this analysis since
application of the more rigorous Federal standards could not have been anticipated
at the time the petition was tiled. A|though the Fifth Circuit has not directly
addressed this issue in a published opinion, it has applied the Texas “fair notice”
standard in an unpublished opinion when analyzing the improperjoinder issue. See
De La Hoya v. Co/dwell BankerMex. lnc., 125 Fed.Appx. 533, 537-38 (5th Cir. 2005).
Numerous district courts have also applied this standard See Esteban v. State
Farm L/oyds, 23 F.Supp.3d 723, No. 3:13-CV-3501-B (N.D.Tex. i\/lay 22, 2014);
Arana v. Allstate Texas L/oyds, 2013 WL 2149589, No. 3:13-CV-0750-D (N.D.Tex.
lVlay 17, 2013); Stevenson v. A//state Texas Lloyds, 2012 WL 360089, No. 11-cv-
3308 (S.D.Tex. Feb. 1, 2012); Delaney v. GEO Group, lnc., 2012 WL 3526789, No.
SA-12-CV-541-XR (W.D.Tex. Aug. 14, 2012); McDaniel v. JP Morgan Chase Bank,
N.A., 2012 WL 6114944, No. 1:12-CV-392 (E.D.Tex. Dec. 10, 2012); Myers v.
Allstate Texas Lloyd’s, 2011 WL 846083, No. 1:10-CV-172, (E.D.Tex., lVlarch 8,
201 1); Edwea, lnc. vA/Istate lns. Co., 2010 WL 5099607, No. H-10-2970, (S.D.Tex.
Dec. 8, 2010).

Texas’ “fair notice” standard for pleading is embodied in Rule 47 of the Texas

Ru|es of Civil Procedure, which requires “a short statement of the cause of action

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sufficient to give fair notice of the claim involved,” This standard “looks to whether
the opposing party can ascertain from the pleading the nature and basic issues of
the controversy and what testimony will be reievant." Edwea, at *3 (quoting
Horizon/CMS Healfhcare Corp. v. Auld, 34 S.W.3d 887, 896 (Tex. 2000)). “The
purpose of this rule is to give the opposing party information sufficient to enable him
to prepare a defense.” /d. “A court must uphold the petition as to a cause of action
that may be reasonably inferred from what is specifically stated, even if an element
of the cause of action is not specifically alleged.” /d. (citing Boy/es v. Kerr, 855
S.W.2d 593, 601 (Tex. 1993)).

in 2013, the Texas Legisiature added Rule 91a to the Texas Ru|es of Civil
Procedure, which provides a standard for dismissal on the pleadings similar to that
found in Rule 12(b)(6) of the Federal Ru|es of Civil Procedure, However, the “fair
notice” standard of Rule 47 of the Texas Ru|es of Civil Procedure remains in effect.
Courts which have analyzed improperjoinder since the enactment of Rule 91 a have
for the most part determined that the “fair notice” standard is still applicable in
analyzing state-court pleadings, See SL Pafhology Leasing of Texas LLC v. Miraca
Life Sciences, lnc., No. H-14-3723, 2015 WL 1392967 (S.D. Tex., l\/lar. 25, 2015)
(Atlas, J.); Puricell/' v. ARNS investments LLC, No. 3:14-CV-4018-i\/i-BN, 2015 WL
500167 (N.D.Tex. Feb. 4, 2015) (Lynn, J.); Lopez-Welch v. State Farm Lloyds, No.
3:14-CV-2416-L, 2014 WL 5502277 (N.D.Tex., Oct. 31 , 2014) (Lindsay, J.); Oldham
v. Nationwide lns. Co. Of America, No. 3:14-CV-575-B, 2014 WL 3855238
(N.D.Tex., Aug. 5, 2014) (Boyle, J.). A|though no published Fifth Circuit opinion has
directly addressed the issue, at least orie unpublished opinion has continued the “fair

notice” evaluation even after the passage of Rule 91a. See Michels v. Safeco Ins.

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Co. of lnd., 544 F.App’x 535, 538 (5th Cir. 2013). in the absence of a definitive
answer, the legal analysis should weigh in favor of Plaintiff’s position.

The allegations of Plaintiff’s petition in this case are suchient to give “fair
notice” to Defendants of Plaintiff’s claims, specifically in regard to Plaintiff’s claims
under the Texas insurance Code. Accordingly, it is

ORDERED that Plaintiff’s l\/iotion to Remand is GRANTED and this action is
hereby remanded to the 169th Judiciai District Court in Bell County, Texas. lt is
further

ORDERED that any motions not previously ruled upon by the Court are
DENiED.

sieNEo this _/i day orAprii, 2015.

    

WALTER S. SM|TH, JR.
UN|TED STATES DisTRicT JuDGE

